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                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                           March 24, 2025
                           FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

IN RE:                                           §
                                                 §       CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                        §
                                                 §       CHAPTER 11
            Debtor.                              §
                                                 §
JETALL COMPANIES, INC.,                          §
                                                 §
            Plaintiff,                           §
                                                 §
VS.                                              §       ADVERSARY NO. 25-3016
                                                 §
JACKSON WALKER LLP                               §
and                                              §
HOUSTON 2425 GALLERIA, LLC,                      §
                                                 §
            Defendants.                          §

                                   ORDER ABATING CASE

This case is abated given the Chapter 7 filing of the Plaintiff, Jetall Companies, Inc.1 A Status

Conference is set for 11:00 a.m. on March 3, 2026.

SO ORDERED.

            SIGNED 03/24/2025


                                                     ___________________________________
                                                     Jeffrey Norman
                                                     United States Bankruptcy Judge




1
    Case no. 24-35761.
1/1
